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                                  UNITED STATES DISTRICT COURT
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                                         DISTRICT OF NEVADA
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      UNITED STATES OF AMERICA,                   )
10                                                )
                    Plaintiff,                    )         2:11-cr-057-LDG-RJJ
11                                                )
      vs.                                         )
12                                                )
      NOE CONTRERAS, etc., et al.,                )               ORDER
13                                                )
                    Defendant,                    )
14                                                )
15           This matter was submitted to the undersigned Magistrate Judge on the Government’s Ex
16    Parte Application Requesting Sealing of the Government’s Motion For Pretrial Detention (#35).
17           The Court having reviewed the Ex Parte Application (#35) and the file herein finds that a
18    detention hearing was held on March 7, 2011, with public disclosure of relevant facts conducted
19    in open court. See, Minutes of Proceedings (#38). Good cause appearing therefore,
20           IT IS HEREBY ORDERED that the Government’s Ex Parte Application Requesting
21    Sealing of the Government’s Motion For Pretrial Detention (#35) is DENIED.
22           DATED this 14th      day of March, 2011.
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                                                  ROBERT J. JOHNSTON
26                                                United States Magistrate Judge
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